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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 AMERICAN ACADEMY OF
 PEDIATRICS, et al.,

                   Plaintiffs,

          v.                                       Civil Action No. 8:18-cv-883-PWG

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                   Defendants.


                            INDICATIVE RULING

       Upon consideration of Defendants’ request for an indicative ruling on a motion under

Federal Rule of Civil Procedure 60(b) for a 120-day extension of the premarket application

deadline imposed by the Court’s remedy order [ECF No. 127] in light of the global outbreak of

respiratory illness caused by a new coronavirus, the Court hereby STATES that

       The Court would GRANT the motion if the case were remanded for that purpose; and

       The Court would MODIFY paragraph 1 on page 12 of the remedy order to read as follows:

       “1. the FDA shall require that, for new tobacco products on the market as of the August 8,

       2016 effective date of the Deeming Rule (“New Products”), applications for marketing

       orders must be filed by September 9, 2020;” and

       The Court would MODIFY all other references in the remedy order to the “ten-month

       deadline for submissions” to the “September 9, 2020 deadline for submissions.”



Dated: __April 3, 2020_______________               ______/S/___________________________
                                                    PAUL W. GRIMM
                                                    United States District Judge
